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                                                               Objection Deadline: December 15, 2023


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                          ) Case No. 20-12345 (SCC)
                                                                )
THE ROMAN CATHOLIC DIOCESE OF                                   ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                                     )
                                                                )
                                    Debtor.1                    )

                                                                )

              THIRD MONTHLY FEE STATEMENT FOR ALLOWANCE OF
              COMPENSATION AND REIMBURSEMENT OF EXPENSES BY
             BERKELEY RESEARCH GROUP, LLC AS FINANCIAL ADVISOR
         FOR THE PERIOD FROM OCTOBER 1, 2023 THROUGH OCTOBER 31, 2023

    Name of Applicant:                                    Berkeley Research Group, LLC (“BRG”)

    Authorized to Provide Professional Services           The Official Committee of Unsecured Creditors
    to:                                                   (the “Committee”)
    Date of Retention:                                    December 9, 2020 Effective as of October 29,
                                                          2020 [Docket No. 246]
    Period for which Compensation and                     October 1, 2023 through October 31,
    Reimbursement is Sought:                              20232
    Amount of Compensation Sought as Actual,              $3,936.40 (80% of $4,920.50)
    Reasonable and Necessary:
    Amount of Expense Reimbursement Sought                $0.00 3
    as Actual, Reasonable and Necessary:


This is a:         X     Monthly         Interim          Final Application.




1
  The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for
digits of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, PO Box
9023, Rockville Centre, NY 11571-9023.
2
  The applicant reserves the right to include any time expended and expenses incurred in the period indicated above
   in future application(s) if it is not included herein.
3
  The date listed for expenses contained in Exhibit B does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
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                                     Preliminary Statement:

       Berkeley Research Group, LLC (“BRG”), financial advisor to the Official Committee of

Unsecured Creditors (the “Committee”) of above-captioned debtor (the “Debtor”), hereby

submits this Third Monthly Fee Statement (the “Monthly Statement”) for the period from

October 1, 2023, through October 31, 2023 (the “Fee Period”) in accordance with the Order

Authorizing Procedures for Interim Compensation and Reimbursement of Expenses of

Professionals dated November 4, 2020 [Docket No. 129] (the “Interim Compensation Order”).

       BRG requests (a) interim allowance and payment of compensation in the amount of

$3,936.40 (80% of $4,920.50) for fees on account of reasonable and necessary professional

services rendered to the Committee by BRG; (b) and actual and necessary expenses in the

amount of $0.00. BRG reserves the right to apply in the future for reimbursement of actual and

necessary costs and expenses, if any, incurred by members of the Committee in connection with

their service as members of the Committee during the Compensation Period.

        Services Rendered and Expenses Incurred During the Compensation Period

       1.      The BRG timekeepers (collectively, the “Timekeepers”) who rendered services to

the Committee in connection with the Bankruptcy Case during the Fee Period, including the hourly

rate, title, and fees earned by each Timekeeper, is attached hereto as Exhibit A.

       2.      A schedule of fees incurred during the Fee Period summarized by task code is

attached hereto as Exhibit B.

       3.      The detailed time records which describe the time spent by each BRG Timekeeper

and detailed records of all actual and necessary out-of-pocket expenses incurred in connection with

the rendition of its professional services during the Fee Period are attached hereto as Exhibit C.
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       4.      BRG also maintains records of all actual and necessary out-of-pocket expenses

incurred in connection with the rendition of its professional services. At this time BRG is not

requesting reimbursement for any expenses incurred during the Fee Period but reserves the right

to request reimbursement therefore in the future.

       5.      The detailed time records which describe the time spent by each BRG Timekeeper

for the Statement Period are attached hereto as Exhibit D.

                               Notice and Objection Procedures

       6.      No Trustee or examiner has been appointed in this chapter 11 case. Notice of the

Monthly Statement has been served by electronic mail and/or U.S. First Class Mail upon: (a) the

Debtor c/o The Roman Catholic Diocese of Rockville Centre, 50 N Park Ave P.O. Box 9023,

Rockville Centre, NY 11571-9023 (Attn: Thomas Renker, Esq.); (b) the attorneys for the Debtor

at Jones Day, 250 Vesey Street, New York, NY 10281 (Attn: Corinne Ball, Esq., Benjamin

Rosenblum, Esq. and Andrew M. Butler, Esq.); and (c) the Office of the United States Trustee

Region 2, 201 Varick Street, Suite 1006, New York, NY 10014 (Attn: Greg Zipes, Esq. and Shara

Cornell, Esq.). BRG submits that no other or further notice need be provided.

       7.      Pursuant to the Interim Compensation Order, objections to this Application, if any,

must be served upon the undersigned counsel for the Committee and all persons identified at

paragraph 5, above, by November 15, 2023 (the “Objection Deadline”), setting forth the nature of

the objection and the amount of fees or expenses at issue.

       8.      If no objections to this Monthly Statement are made on or before the Objection

Deadline, the Debtor shall pay BRG 80% of the fees and 100% of the expenses set forth above.

       9.      To the extent an objection to this Monthly Statement is timely made, the Debtor

shall withhold payment of that portion of the Monthly Statement to which the objection is directed

and promptly pay the remainder of the fees and disbursements in the percentages set forth above.
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To the extent such objection is not resolved, it shall be preserved and presented to the Court at the

next interim or final fee application hearing.

        Date: November 27, 2023                  BERKELEY RESEARCH GROUP, LLC

                                                 /s/ D. Ray Strong
                                                 D. Ray Strong
                                                 BERKELEY RESEARCH GROUP, LLC
                                                 201 South Main Street, Suite 450
                                                 Salt Lake City, UT 84111
                                                 Telephone:      (801) 364-6233
                                                 Email:          rstrong@thinkbrg.com


                                                  Financial Advisor for the Official Committee
                                                  of Unsecured Creditors
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                     EXHIBIT A
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-:::• BRG
                                            EXHIBIT A
                                       Time Keeper Summary

                                                                   TOTAL
NAME OF PROFESSIONAL                                    HOURLY     HOURS          TOTAL
                                         TITLE           RATE      BILLED      COMPENSATION
Ray Strong                  Managing Director            $780.00        2.40 $        1,872.00
Matthew Babcock             Director                     $725.00        0.20 $          145.00
Christina Tergevorkian      Managing Consultant          $450.00        2.80 $        1,260.00
Shelby Chaffos              Consultant                   $385.00        0.10 $           38.50
Spencer Rawlings            Associate                    $225.00        1.80 $          405.00
Dallin Godfrey              Case Assistant               $150.00        8.00 $        1,200.00
TOTALS                                                                 15.30 $       4,920.50
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                     EXHIBIT B
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-:::• BRG
                                            EXHIBIT B
                                        Task Code Summary


  Code                                    Description                     Hours       Amount
 220.00    Debtors Operations / Monitoring (Monthly Operating Reports /      2.80 $      855.00
           Periodic Reporting)
  330.00   Asset Analysis (General - Debtors)                                1.00 $       663.50
  302.00   Asset Analysis (General - Related Non-Debtors)                    1.60 $       720.00
  600.00   Claims / Liability Analysis (General)                             1.40 $       336.00
  610.00   Claims / Liability Analysis (Survivor Claims)                     0.20 $       156.00
 1020.00   Meeting Preparation & Attendance                                  0.40 $       312.00
 1060.00   Fee Application Preparation & Hearing                             7.90 $     1,878.00
 TOTALS                                                                     15.30 $     4,920.50
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                         EXHIBIT C
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-:::• BRG
                                   EXHIBIT C
                                Expense Summary


                         Expense by Category                          Amounts
None                                                              $         -
TOTAL                                                             $         -
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                     EXHIBIT D
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James I Stang                                                                                       November 17, 2023
Pachulski Stang Ziehl & Jones                                                                             Client: 21145
10100 Santa Monica Blvd.                                                             Matters: 034827 | 042179 | 045293
13th Floor                                                                                            Invoice #: 164247
Los Angeles, CA 90067                                                                              Tax ID # XX-XXXXXXX

Via Email: jstang@pszjlaw.com



        Services Rendered From October 1, 2023 Through October 31, 2023


        RE: The Official Committee of Unsecured Creditors for the Roman Catholic
        Diocese of Rockville Centre, New York

                     Professional Services                                  $      4,920.50   USD
                       CURRENT CHARGES                                      $      4,920.50   USD




Please remit wire/ACH payment to:                                  Please remit check payment to:
Bank Name:       PNC BANK, N.A.                                    BERKELEY RESEARCH GROUP, LLC
SWIFT:           PNCCUS33                                          PO BOX 676158
ABA #:           031207607                                         DALLAS, TX 75267-6158
Account Name: BERKELEY RESEARCH GROUP, LLC
Account #:       8026286672                                        Please remit express/overnight payment to:
Reference:       164247                                            PNC BANK C/O BERKELEY RESEARCH GROUP, LLC
                                                                   LOCKBOX NUMBER 676158
Please send remittance advice details to:                          1200 E CAMPBELL RD, STE 108
remitadvice@thinkbrg.com                                           RICHARDSON, TX 75081




                 BRG Corporate Address: 2200 Powell Street - Suite 1200 | Emeryville, CA 94608
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                                                                                           Client: 21145

Services Rendered From October 1, 2023 Through October 31, 2023

PROFESSIONAL SERVICES
                                                                   Rate         Hours          Amount
Managing Director
  Ray Strong                                                      780.00         2.40         1,872.00

Director
    Matthew Babcock                                               725.00         0.20           145.00

Managing Consultant
  Christina Tergevorkian                                          450.00         2.80         1,260.00

Consultant
   Shelby Chaffos                                                 385.00         0.10            38.50

Associate
   Spencer Rawlings                                               225.00         1.80           405.00

Case Assistant
   Dallin Godfrey                                                 150.00         8.00         1,200.00

Total Professional Services                                                     15.30         4,920.50
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                                                                                            Client: 21145

SUMMARY BY TASK CODE

 Task Code    Description                                                        Hours          Amount
   220.00     Debtors Operations / Monitoring (Monthly Operating Reports /        2.80           855.00
              Periodic Reporting)
   300.00     Asset Analysis (General - Debtors)                                  1.00           663.50
   302.00     Asset Analysis (General - Related Non-Debtors)                      1.60           720.00
   600.00     Claims / Liability Analysis (General)                               1.40           336.00
   610.00     Claims / Liability Analysis (Survivor Claims)                       0.20           156.00
  1020.00     Meeting Preparation & Attendance                                    0.40           312.00
  1060.00     Fee Application Preparation & Hearing                               7.90         1,878.00

Total Professional Services                                                      15.30         4,920.50
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Services Rendered From October 1, 2023 Through October 31, 2023

DETAIL OF PROFESSIONAL SERVICES

Date          Name                         Description                              Hours      Rate           Amount

Task Code: 220.00 - Debtors Operations / Monitoring (Monthly Operating Reports / Periodic Reporting)
10/02/23     Spencer Rawlings             Analyzed MOR Report financial              0.80    225.00            180.00
                                          statements for August 2023 regarding
                                          ongoing monitoring of Debtor
                                          operating activity.
10/02/23      Spencer Rawlings             Analyzed MOR cash receipts and            0.20    225.00             45.00
                                           disbursements for August 2023 for
                                           ongoing monitoring of Debtor
                                           operating activity.
10/02/23      Spencer Rawlings             Analyzed August 2023 ending bank          0.80    225.00            180.00
                                           statement balances in the MOR
                                           Report.
10/02/23      Christina Tergevorkian       Analyzed August 2023 MOR report           0.70    450.00            315.00
                                           relating to the bank balances for the
                                           Admin Office/PSIP.
10/31/23      Christina Tergevorkian       Examined September 2023 MOR               0.30   450.00             135.00
                                           reports for ongoing monitoring of
                                           Debtor operating activity.
                                           Total for Task Code 220.00                2.80                      855.00

Task Code: 300.00 - Asset Analysis (General - Debtors)
10/12/23     Matthew Babcock              Met with BRG (RS, CT, SC [partial]) to     0.20    725.00            145.00
                                          coordinate ongoing asset analyses.
10/12/23      Shelby Chaffos               Participated in partial call with BRG     0.10    385.00             38.50
                                           (RS, MB, CT) to review ongoing asset
                                           analyses.
10/12/23      Ray Strong                   Attended call with BRG (RS, CT, SC        0.20    780.00            156.00
                                           [Partial) to coordinate ongoing asset
                                           analysis.
10/12/23      Christina Tergevorkian       Met with BRG (RS, MB, SC [partial]) to    0.20    450.00             90.00
                                           coordinate ongoing asset analyses.
10/17/23      Ray Strong                   Evaluated case assignments pursuant       0.30   780.00             234.00
                                           to discussion with UCC Counsel.
                                           Total for Task Code 300.00                1.00                      663.50
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Date          Name                          Description                             Hours    Rate           Amount

Task Code: 302.00 - Asset Analysis (General - Related Non-Debtors)
10/16/23     Christina Tergevorkian       Analyzed parishes with lawsuits filed      1.60   450.00           720.00
                                          pursuant to request form UCC
                                          Counsel.
                                            Total for Task Code 302.00               1.60                    720.00

Task Code: 600.00 - Claims / Liability Analysis (General)
10/03/23     Dallin Godfrey                 Reviewed monthly fee statement filed     1.20   150.00           180.00
                                            by professionals for August 2023 to
                                            update professional fee analysis.
10/16/23      Ray Strong                    Evaluated June/July BRG fees and         0.20   780.00           156.00
                                            costs pursuant to request from Debtor
                                            FA.
                                            Total for Task Code 600.00               1.40                    336.00

Task Code: 610.00 - Claims / Liability Analysis (Survivor Claims)
10/16/23     Ray Strong                     Evaluated claims with lawsuits filed     0.20   780.00           156.00
                                            pursuant to request of UCC Counsel.
                                            Total for Task Code 610.00               0.20                    156.00

Task Code: 1020.00 - Meeting Preparation & Attendance
10/17/23     Ray Strong                  Discussed case status with UCC              0.20   780.00           156.00
                                         Counsel (BM).
10/27/23      Ray Strong                    Discussed case status with UCC           0.20   780.00           156.00
                                            Counsel (BM).
                                            Total for Task Code 1020.00              0.40                    312.00

Task Code: 1060.00 - Fee Application Preparation & Hearing
10/03/23     Dallin Godfrey               Prepared draft of ninth interim fee        2.10   150.00           315.00
                                          application narrative.
10/06/23      Dallin Godfrey                Reviewed BRG time entries for            2.10   150.00           315.00
                                            September 2023 in preparation for
                                            2nd Monthly Fee Statement.
10/10/23      Dallin Godfrey                Prepared draft of Ninth Interim Fee      1.30   150.00           195.00
                                            Application.
10/20/23      Dallin Godfrey                Analyzed BRG invoice for September       0.30   150.00            45.00
                                            2023 in preparation for 2nd Monthly
                                            Fee Statement.
10/23/23      Dallin Godfrey                Continued to Analyze BRG Invoice for     0.30   150.00            45.00
                                            September 2023 in preparation for
                                            2nd Monthly Fee Statement.
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Date          Name                      Description                             Hours     Rate          Amount
10/24/23      Dallin Godfrey            Prepared exhibits for Second Monthly     0.70   150.00           105.00
                                        Fee Statement.
10/31/23      Ray Strong                Analyzed time entries for 9th Interim    1.10   780.00           858.00
                                        Fee Application.
                                        Total for Task Code 1060.00              7.90                  1,878.00

Professional Services                                                           15.30                  4,920.50
